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                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION


UNITED STATES OF AMERICA,                         )       CASE NO. 1:09CR342-2
                                                  )
                         PLAINTIFF,               )
                                                  )       JUDGE SARA LIOI
vs.                                               )
                                                  )       MEMORANDUM OF OPINION &
NILESH R. PATEL,                                  )       ORDER
                                                  )
                         DEFENDANT.               )
                                                  )

                  Before the Court is the Report and Recommendation (“R&R”) of Magistrate

Judge William H. Baughman, Jr. (Doc. No. 92) addressing Defendant Nilesh R. Patel’s motion

(Doc. No. 82) to limit the garnishment of that portion of Patel’s assets which are held in accounts

with Pershing, LLC. Defendant has filed objections to the R&R. (Doc. No. 93.) The parties

participated in a hearing on this matter (Doc. No. 84) and subsequently submitted a joint

stipulation of relevant facts (Doc. No. 87). Patel then filed a supplemental brief in support of his

motion. (Doc. No. 89.) The government filed a brief in opposition (Doc. No. 90), and Patel

replied (Doc. No. 91).

                  Pursuant to Fed. R. Civ. P. 72(b)(3), this Court reviews de novo those portions of

the R&R to which a party has properly objected. For the reasons that follow, the objections are

OVERRULED, the R&R is REJECTED, and the motion is DENIED.



      I.       BACKGROUND

                  On August 23, 2010, the Court ordered Patel to pay MetroHealth System

(“MetroHealth”) $628,000 in restitution for losses that Patel caused MetroHealth to incur. (Doc.
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No. 34.) Patel is jointly and severally liable for this amount with co-defendant John Carroll.

Thomas Greco, the defendant in case no. 1:09CR506, is also jointly and severally liable with

Patel and Carroll for $350,000 of the $628,000 loss. Patel appealed his sentence to the Sixth

Circuit Court of Appeals on September 1, 2010. (Doc. No. 36.) That court affirmed his sentence

on January 31, 2012. (Doc. No. 96.)

                 Of the $628,000 due, MetroHealth has collected a total of $42,091.40 in

restitution from the individuals who are jointly and severally liable. 1 Additionally, on October

21, 2010, MetroHealth received a payment of $553,000 from its insurer, Travelers Casualty

(“Travelers”), as compensation for the $628,000 loss. The Travelers payout was subject to a

$100,000 deductible. The $553,000 figure thus represented a $528,000 post-deductible payout on

the loss plus an additional $25,000 for claim expenses incurred by MetroHealth. MetroHealth

has not yet fully recovered the $100,000 deductible amount. Under the terms of the insurance

agreement between MetroHealth and Travelers, MetroHealth is obligated to pay to Travelers any

restitution it receives from Patel. Accordingly, MetroHealth has, pursuant to a release and

assignment executed on October 13, 2010, assigned its right of recovery against Patel to

Travelers.

                 In an attempt to collect more of the owed restitution from Patel, the government

filed a writ of continuing garnishment (Doc. No. 69) seeking $243,881.43 in Patel assets held by

Pershing, LLC. Patel argues that MetroHealth has been made substantially whole and that, to

prevent double recovery by MetroHealth, any continuing garnishment should be capped at


1
  There appears to be a slight mathematical error in the parties’ joint stipulation of facts. Paragraph 9 of that
document states that “$42,091.40 has been collected . . . toward the joint and several restitution owed to Metro
Health by Messrs. Carroll, Greco and Patel,” but paragraph 2 states that Patel has paid $39,749.45 in restitution
while Carroll has paid $2,366.95, for a total of $42,116.40.

                                                       2
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$57,908.60 2—MetroHealth’s $100,000.00 deductible minus the amounts already collected from

the jointly and severally liable individuals. Further, Patel contends that, because his sentence is

on appeal, this Court lacks jurisdiction to modify the restitution order by directing payment to

Travelers and thus preventing double recovery for MetroHealth.



    II.      REPORT AND RECOMMENDATION

                  The Magistrate Judge recommends the Court clarify the restitution order to reflect

the two-step sequential process set forth in the Mandatory Victims Restitution Act (“MVRA”),

18 U.S.C. § 3664(j)(1), which provides for payment to an insurer so long as all victims have

already been made whole. United States v. Lara, Criminal No. 3:08-cr-00169, 2009 WL

3754069, at *2 (D. Conn. Nov. 6, 2009). Specifically, the Magistrate Judge recommends that the

order be amended to indicate that (1) garnished funds must first go to MetroHealth to the extent

that MetroHealth has still not recouped its $100,000 deductible payment and (2) any amount of

garnished funds beyond what are needed to make MetroHealth whole must be paid directly to

Travelers to compensate it for its insurance payout to MetroHealth. The total restitution amount

of $628,000 would remain the same.

                  Patel objects to the R&R on two grounds. First, he argues that the Magistrate

Judge’s proposed clarification of the restitution order cannot be effected in a way that complies

with the MVRA, which requires that the victim be fully compensated for its losses. This is

because, even if the Court were to require payment of the next $57,908.60 of restitution to

MetroHealth, MetroHealth is contractually obligated to turn that money over to Travelers.


2
 Patel initially argued that the recovery should be capped at $57, 072.1 (Doc. No. 82 at 1) but now subscribes to the
$57.908.60 figure (Doc. No. 89 at 2).
                                                          3
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Second, Patel contends that the suggested clarification—adding Travelers as a payee and

including additional language directing that all restitution be paid to MetroHealth before

Travelers—is in fact a substantive modification that the Court may not make. 3 As he did in his

original motion, Patel argues in his objections to the R&R that the pendency of his appeal divests

this Court of jurisdiction to make such a change. 4 The government has not filed a reply to Patel’s

objections.



    III.      DISCUSSION

                  When fashioning a restitution order, courts must exclude insurance settlements

from the initial computation of the amount of restitution owed. 18 U.S.C. § 3664(f)(1)(B). 5

Further, as noted by the Magistrate Judge, § 3664(j)(1) provides, in relevant part, that

           If a victim has received compensation from insurance . . . , the court shall order
           that restitution be paid to the person who provided or is obligated to provide the
           compensation, but the restitution order shall provide that all restitution of victims
           required by the order be paid to the victims before any restitution is paid to such a
           provider of compensation.

§ 3664(j)(1). Thus, “the fact that the [victim] may have insurance to cover . . . losses does not

relieve [defendant] of his obligation of restitution[.]” United States v. Gross, 4 F.3d 991 (table),

1993 WL 361002, at *3 (5th Cir. Sept. 2, 1993).




3
 The Court did not name Travelers as a payee in its restitution order since, as of the date on which the restitution
order was issued, Travelers had not yet paid any policy proceeds to MetroHealth.
4
  At the time Patel filed his objections, the Sixth Circuit had not yet ruled on Patel’s appeal. The appeals court
subsequently issued its judgment affirming Patel’s sentence on January 31, 2012. (Doc. No. 96.) Patel’s jurisdiction
objection is therefore moot.
5
  “In no case shall the fact that a victim has received or is entitled to receive compensation with respect to a loss
from insurance or any other source be considered in determining the amount of restitution.”
                                                          4
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                 Once the total amount of restitution is determined, however, the defendant is

entitled to have that amount reduced by any amount the victim later recovers as compensatory

damages for the same loss in any federal or state civil proceeding. 18 U.S.C. § 3664(j)(2); United

States v. Crawford, 169 F.3d 590, 593 (9th Cir 1999); see also United States v. Elson, 577 F.3d

713, 734 (6th Cir. 2009) (holding that restitution award under MVRA must be reduced by any

amount the victim receives as part of a civil settlement, which prevents “ ‘the undesirable result

of restitution effectuating a double recovery’ ” (quoting United States v. Gallant, 537 F.3d 1202,

1250 (10th Cir. 2008))). It is a defendant’s burden to prove that the victim has already been

compensated for its loss or has received double payment. United States v. Bogart, 490 F. Supp.

2d 885, 901 (S.D. Ohio 2007) (citing United States v. Scheinbaum, 136 F.3d 443, 449 (5th Cir.

1998)); United States v. Parsons, 141 F.3d 386, 393 (1st Cir. 1998) (burden of establishing

double payment is on defendant).

                 To date MetroHealth has received $570,091.40 6 in compensation for the $628,000

in losses it sustained due to Patel’s conduct. As stated previously, the Magistrate Judge has

recommended that the Court clarify the restitution order by identifying Travelers as a payee and

requiring that once MetroHealth has been fully compensated for its loss, restitution—in an

amount equal to $628,000 minus the compensatory restitution paid to MetroHealth—should be

paid to Travelers.

                 The Court, however, concludes that clarification of the restitution order is

unnecessary. Patel has not met his burden of demonstrating that a double recovery will occur

under the Court’s present restitution order. Therefore, the restitution order can stand as is.


6
 This amount is the sum of the $528,000 loss payment from Travelers and the $42,091.40 in restitution already paid
by the jointly and severally liable individuals.
                                                       5
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               There is no question that a victim is not entitled to double recovery of its losses.

See, e.g., Elson, 577 F.3d at 734; United States v. McDaniel, 398 F.3d 540, 554-55 (6th Cir.

2005); United States v. Stanley, 309 F.3d 611, 613 (9th Cir. 2002) (“The purpose of § 3664(j)(2)

is to prevent double recovery by a victim.”) (citations omitted). But Patel has not met his burden

of demonstrating that MetroHealth will receive double recovery here. To the contrary, pursuant

to the release and assignment executed by MetroHealth in favor of Travelers, any restitution

payments made to MetroHealth will be turned over to Travelers. See United States v. Hagan, 263

F.3d 162, 2001 WL 803535, at *2 (5th Cir. June 7, 2001) (no double recovery where victim

entered civil settlement agreement with defendant whereby victim agreed to assign to defendant

any judgments obtained in civil or criminal proceedings against codefendants); United States v.

Cummings, 189 F. Supp. 2d 67, 80 (S.D.N.Y. 2002) (“[A] civil settlement does not preclude an

award of restitution so long as there is no double recovery.”) (citations omitted). Thus, Patel has

not shown that the restitution order as it currently stands will create a double recovery for

MetroHealth.

               Further, under the language of § 3664(j)(2), subsequent to a court’s restitution

order, a defendant is entitled to an offset only for amounts the victim later recovers as

compensatory damages for the same loss in any federal or state civil proceeding. United States v.

Brennan, 526 F. Supp. 2d 378, 388 (E.D.N.Y. 2007) (“By its plain language this section applies

to compensatory damages recovered by a victim in a civil proceeding after a court enters a

restitution order.”); 18 U.S.C. § 3664(j)(2). An insurance payment like the one made by

Travelers here is not an award of “compensatory damages” in a “civil proceeding” under §

3664(j)(2). Indeed, § 3664(j)(1)’s subrogation language—providing for payment to a victim’s


                                                6
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insurer once the victim has been made whole—demonstrates that an insurance payment will not

relieve a criminal defendant of his mandatory restitution obligation.



   IV.     CONCLUSION

               For these reasons, Patel’s motion to limit the garnishment of Pershing, LLC is

DENIED. Because the Court has rejected the recommendation of the Magistrate Judge, Patel’s

objections thereto are OVERRULED. The full restitution amount shall remain due to

MetroHealth, and garnishment of Patel’s account should proceed.

               IT IS SO ORDERED.



Dated: June 28, 2012
                                               HONORABLE SARA LIOI
                                               UNITED STATES DISTRICT JUDGE




                                                 7
